                       CASE 0:21-cr-00268-SRN-LIB Doc. 262 Filed 04/19/23 Page 1 of 7
AO 245B (Rev. 11/16) Sheet 1 - Judgment in a Criminal Case




                                         UNITED STATES DISTRICT COURT
                                            DISTRICT OF MINNESOTA
 UNITED STATES OF AMERICA                                                       JUDGMENT IN A CRIMINAL CASE

 v.
                                                                                Case Number: 0:21-CR-00268 (1) (SRN/LIB)
 ALEXIA GAH GI GAY MARY CUTBANK (1)                                             USM Number: 78090-509
                                                                                R J Zayed
                                                                                Defendant’s Attorney

THE DEFENDANT:
 ☒ Pleaded guilty to Counts One (1) and Three (3) of the Superseding Indictment.
 ☐ pleaded nolo contendere to count(s) which was accepted by the court.
 ☐ was found guilty on count(s) after a plea of not guilty.

The Defendant is adjudicated guilty of these offenses:

 Title & Section / Nature of Offense                                                                   Offense Ended        Count
 18 U.S.C. Sections 2, 1111, 1151, and 1153(a)                                                         August 12, 2019      One (1)
 Murder in the Second Degree

 18 U.S.C. Sections 2, 113(a)(6), 1151, and 1153(a)                                                    August 12, 2019      Three (3)
 Assault Resulting in Serious Bodily Injury

The Defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Count Two (2) of the Superseding Indictment is dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                  Tuesday, April 18, 2023
                                                                  Date of Imposition of Judgment




                                                                  s/ Susan Richard Nelson
                                                                  Signature of Judge

                                                                  SUSAN RICHARD NELSON
                                                                  UNITED STATES DISTRICT JUDGE
                                                                  Name and Title of Judge

                                                                  Wednesday, April 19, 2023
                                                                  Date
                                                                    1
                      CASE 0:21-cr-00268-SRN-LIB Doc. 262 Filed 04/19/23 Page 2 of 7


AO 245B (Rev. 11/16) Sheet 2 - Imprisonment
DEFENDANT:                    ALEXIA GAH GI GAY MARY CUTBANK
CASE NUMBER:                  0:21-CR-00268-SRN-LIB(1)

                                                       IMPRISONMENT

The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of 240 Months on Count One (1), and 120 Months on Count Three (3), to be
served concurrently.



 ☒ The Court makes the following recommendations to the Bureau of Prisons:
    FCI-Greenville.

          It is further recommended that Defendant be allowed to participate in the RDAP Program.

 ☒ The Defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

           ☐ at                                 on                                              .
           ☐ as notified by the United States Marshal.


 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           ☐ before                             on                                          . Alternatively, if no facility has been
           designated, or if the defendant prefers, the defendant shall surrender to the office of the United States Marshal for this
           district in Minneapolis, Minnesota by                           on                          .
           ☐ as notified by the United States Marshal.
           ☐ as notified by the Probation or Pretrial Services Office.

                                                              RETURN
I have executed this judgment as follows:


           Defendant delivered on                                to


 at                                                   with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL

                                                                                                       By
                                                                                       DEPUTY UNITED STATES MARSHAL


                                                                      2
                       CASE 0:21-cr-00268-SRN-LIB Doc. 262 Filed 04/19/23 Page 3 of 7
AO 245B (Rev. 11/16) Sheet 3 – Supervised Release
DEFENDANT:                    ALEXIA GAH GI GAY MARY CUTBANK
CASE NUMBER:                  0:21-CR-00268-SRN-LIB(1)

                                                     SUPERVISED RELEASE
Upon release from imprisonment, the Defendant shall be on supervised release for a term of Five (5)
Years on Count One (1), and Three (3) Years on Count Three (3), to be served concurrently.


                                                    MANDATORY CONDITIONS

   1.   You must not commit another federal, state or local crime.
   2.   You must not unlawfully possess a controlled substance.
   3.  You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
       release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
                   future substance abuse. (check if applicable)
  4. ☒ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a
             sentence of restitution. (check if applicable)
  5. ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
  6. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
             seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
             you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
  7. ☐ You must participate in an approved program for domestic violence. (check if applicable)
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any
 additional conditions on the attached page.




                                                                     3
                      CASE 0:21-cr-00268-SRN-LIB Doc. 262 Filed 04/19/23 Page 4 of 7
AO 245B (Rev. 11/16) Sheet 3A – Supervised Release
DEFENDANT:                    ALEXIA GAH GI GAY MARY CUTBANK
CASE NUMBER:                  0:21-CR-00268-SRN-LIB(1)

                                  STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
    time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
    the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
    notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
    officer within 72 hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
    officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
    from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
    excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
    10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
    becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
    the probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
    was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
    tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
    without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at www.uscourts.gov.

Defendant's Signature __________________________________________________                     Date ______________________

Probation Officer's Signature ____________________________________________                   Date ______________________




                                                                     4
                      CASE 0:21-cr-00268-SRN-LIB Doc. 262 Filed 04/19/23 Page 5 of 7
AO 245B (Rev. 11/16) Sheet 3D – Supervised Release
DEFENDANT:                    ALEXIA GAH GI GAY MARY CUTBANK
CASE NUMBER:                  0:21-CR-00268-SRN-LIB(1)

                                     SPECIAL CONDITIONS OF SUPERVISION
1.     The Defendant shall complete an immediate assessment and/or participate in a program for substance
abuse as approved by the Probation Officer. That program may include testing and inpatient or outpatient
treatment, counseling, or a support group.

2.     The Defendant shall submit to substance abuse testing as approved and directed by the Probation
Officer.

3.       The Defendant shall have no contact (including letters, communication devices, audio, or visual devices,
visits, or any contact through a third party) with the deceased victim’s family without prior consent of the
Probation Officer.

4.     The Defendant shall participate in a mental health evaluation. If treatment is recommended, the
Defendant shall participate in an approved treatment program and abide by all supplemental conditions of
treatment to include medication as prescribed. Participation may include inpatient/outpatient treatment.

5.      If not employed at a regular lawful occupation, as deemed appropriate by the Probation Officer, the
Defendant may be required to perform up to 20 hours of community service per week until employed. The
Defendant must also participate in training, counseling, daily job search, or other employment-related activities,
as directed by the Probation Officer.

6.     The Defendant shall provide the Probation Officer access to any requested financial information,
including credit reports, credit card bills, bank statements, and telephone bills.

7.      The Defendant shall be prohibited from incurring new credit charges or opening additional lines of
credit without approval of the Probation Officer.

8.      The Defendant shall submit her person, residence, vehicle, or an area under the defendant's control to a
search conducted by a United States Probation Officer or supervised designee, at a reasonable time and in a
reasonable manner, based upon reasonable suspicion of contraband or evidence of a supervision violation. The
Defendant shall warn any other residents or third parties that the premises and areas under the Defendant's
control may be subject to searches pursuant to this condition.




                                                        5
                        CASE 0:21-cr-00268-SRN-LIB Doc. 262 Filed 04/19/23 Page 6 of 7
AO 245B (Rev. 11/16) Sheet 5 – Criminal Monetary Penalties
DEFENDANT:                       ALEXIA GAH GI GAY MARY CUTBANK
CASE NUMBER:                     0:21-CR-00268-SRN-LIB(1)

                                             CRIMINAL MONETARY PENALTIES
           The Defendant must pay the total criminal monetary penalties under the schedule of payments.

                               Assessment                 Restitution                      Fine         AVAA Assessment*                 JVTA Assessment**
       TOTALS                     $200.00                  $5,468.84                       $.00                     $.00                              $.00

    ☐       The determination of restitution is deferred until                   An Amended Judgment in a Criminal Case (AO245C)
            will be entered after such determination.
    ☒       The Defendant must make restitution (including community restitution) to the
            following payee in the amount listed below for disbursement to the victim.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
           § 3664(i), all nonfederal victims must be paid before the United States is paid.



                       Name and Address of Payee                                        ***Total Loss                Restitution               Priority or
                                                                                                                      Ordered                  Percentage

    MINNESOTA CRIME VICTIMS                                                                                      $5,468.84
    REPARATIONS BOARD

    Payments are to be made to the Clerk, U.S.
    District Court, and mailed to:

    Clerk of Court
    UNITED STATES DISTRICT COURT
    300 South Fourth Street
    Minneapolis, MN 55415

   TOTAL:                                                                                                        $5,468.84




 ☐ Restitution amount ordered pursuant to plea agreement $
 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options may be subject to
        penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☒      The Court determined that the Defendant does not have the ability to pay interest and it is ordered that:
        ☒ the interest requirement is waived for the          ☐ fine                             ☒ restitution
        ☐ the interest requirement for the                               ☐ fine                                     ☐ restitution is modified as follows:
* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.




                                                                                 6
                       CASE 0:21-cr-00268-SRN-LIB Doc. 262 Filed 04/19/23 Page 7 of 7
AO 245B (Rev. 11/16) Sheet 6 – Schedule of Payments
DEFENDANT:                    ALEXIA GAH GI GAY MARY CUTBANK
CASE NUMBER:                  0:21-CR-00268-SRN-LIB(1)

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ☒ Lump sum payment of $ 200.00 is due immediately to the Crime Victims Fund. ($100 for each
              Count of the Superseding Indictment.)
       ☐      not later than                                    , or

       ☐ in accordance                     ☐      C,         ☐         D,       ☐       E, or       ☐       F below; or

 B     ☐ Payment to begin immediately (may be combined with                     ☐       C,          ☐       D, or             ☐       F below); or

 C     ☒ Defendant shall make payments of either Quarterly installments of a minimum of $25 if working non-UNICOR,
              or a minimum of Fifty percent (50%) of monthly earnings if working UNICOR. If the Defendant is unable to pay
              the full amount of restitution at the time supervision ends, the Defendant may work with the U.S. Attorney’s
              Office Financial Litigation Unit to arrange a restitution payment plan; or
 D     ☒      Payment of not less than $25 per month are to commence 30 days after release from confinement. Payments are
              to be made payable to the Clerk, U.S. District Court, for disbursement to the victim.

              Mailing Address
              Clerk of Court, UNITED STATES DISTRICT COURT, 300 South Fourth Street, Minneapolis, MN 55415
 E     ☐      Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
              time; or
 F     ☒      Special instructions regarding the payment of criminal monetary penalties:
              The Defendant's obligation to pay the full amount of restitution continues even after the term of supervision has
              ended, pursuant to federal law. See 18 U.S.C. § 3613. If the Defendant is unable to pay the full amount of
              restitution at the time supervision ends, the Defendant may work with the U.S. Attorney's Office Financial
              Litigation Unit to arrange a restitution payment plan.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The Defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
 ☒ Joint and Several

                 Case Number
      Defendant and Co-Defendant Names                  Total Amount            Joint and Several Amount                Corresponding Payee,
      21-CR-268 (2) – Mia Faye Sumner                     $5,468.84                     $5,468.84                      Minnesota Crime Victims
                                                                                                                          Reparations Board
      21-CR-268 (3) – Daniel Charles Barrett               $5,468.84                     $5,468.84                     Minnesota Crime Victims
                                                                                                                          Reparations Board
      22-CR-220 (1) – Rose Celeste Siewert                 $5,468.84                     $5,468.84                     Minnesota Crime Victims
                                                                                                                          Reparations Board
 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.



                                                                            7
